 

 

FOR THE SOUTHERN DISTRICT OF WEST

 

AT BECKLEY 17
i
. i!
FREDERICK SHAWNEE CARTER, SAMUELL KAY CL
os ee ge te CLERK
1 ae o er 4 Rank
Plaintiff, a Southern District a Wear eae 3
Nene ernie STNG
Vv. CIVIL ACTION NO. 5:96-0436

GAULEY BRIDGE POLICE, et al.,

Defendants.

ORDER
Pending before the court are plaintiff Carter's motion to
vacate, motion to compel, and objections to the report and
recommendations, filed on June 2, 1998. Since the United States
Court of Appeals for the Fourth Circuit has already affirmed the

Judgment Order of this court, the plaintiff's motions are DENIED

as moot.
The Clerk is directed to forward a certified copy of this
Order to plaintiff, pro se, and counsel of record.

IT IS SO ORDERED this 10th day of November, 1998.

ENTER:

Bawa ODL

David A. Faber
United States District Judge
